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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

DANYAL SHAIKH,                            §
    Plaintiff,                            §
                                          §
v.                                        § Civil Action No. 4:16-CV-00591
                                          §
TEXAS A&M UNIVERSITY                      §
COLLEGE OF MEDICINE et al.,               §
    Defendant.                            §

     TEXAS A&M UNIVERISITY COLLEGE OF MEDICINE’S STATEMENT
                REGARDING THE USMLE STEP 1 EXAM

       Pursuant to the Court’s Management Order entered April 16, 2019 (dkt. 73),

Texas A&M University College of Medicine files the following explanation of the

role of the USMLE Step 1 Exam at A&M, in Texas, and in the United States:

       1.    The National Board of Medical Examiners formulates and administers

a series of four licensing exams that are given at specific times in one’s medical

career. Collectively, these are called the United States Medical Licensing Exam

(USMLE).

       2.    The first exam, Step 1, covers basic science material and is generally

given after medical students’ finish their basic science classroom work and either

before or early in one’s clinical years. Step 2CK is a written exam covering basic

clinical medicine and is generally taken after the end of year 3 when students finish

their core clinical rotations. Step 2CS is a practical exam where students see

standardized patients at a testing center and are graded on their taking of patients’

medical history, physical exam, and write ups from the encounters. Step 3 is a



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written exam that covers advanced clinical medicine and is taken after completing

medical school.

      3.     At Texas A&M, passing Step 1 and Step 2CK is required for

graduation. Step 2CS must be taken to graduate, but passage is not required prior

to graduation. A&M medical students may not progress beyond year 3 without

passing Step 1. Passing these exams is an indicator that students have mastered

the material and meet national standards to progress in their medical training. At

the time Danyal Shaikh was enrolled at Texas A&M College of Medicine, the

maximum number of times a student was permitted to take the Step 1 exam was

three times. If a student could not pass the Step 1 in three attempts, he would be

dismissed from the program. Currently, Texas A&M only permits students two

attempts to take the Step 1 exam.

      4.     It is Texas A&M’s understanding that all medical schools in Texas

require passage of the Step 1 exam and use this exam as a barrier to progression

similar to Texas A&M. However, schools may have different rules regarding how

many times students may retake a failed exam before being dismissed.

      5.     It is Texas A&M’s understanding that all U.S. medical schools use the

Step 1 and other USMLE exams similarly. All require these exams, all have some

sort of limit on the number of times students may take them before being dismissed,

and virtually all use them as a barrier exam to progress further in the

curriculum. It is typical for medical schools in Texas and nationally to provide time

limits by which the Step 1 exam must be taken.



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      6.     USMLE exam scores, including Step 1 scores, are used nationally by

residencies in evaluating applicants for possible acceptance into their programs and

are submitted as part of residency applications, much as MCAT and LSAT scores

are submitted with applications to medical and law school, respectively.

Additionally, the Texas Medical Board requires passage of the Step 1 and the other

USMLE exams as a requirement for medical licensing and limits the number of

times an applicant for medical licensure may take each portion of the exam to three,

except under unusual circumstances. It is Texas A&M’s understanding that most, if

not all, U.S. medical licensing boards require passage of the USMLE as a

requirement of licensure.

                                      Respectfully submitted.

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                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed
electronically with the Court delivered by CM/ECF and by e-mail on April 22, 2019,
to:

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                                      /s/ Emily Ardolino
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